                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
vs.                                         )       Case No. 06-3114-01-CR-S-GAF
                                            )
DEAN P. PROFFITT,                           )
                                            )
                      Defendant.            )

                                            ORDER

       Now pending before the Court is Defendant’s Motion to Dismiss the Indictment (Doc.

#124), Motion to Strike Paragraph 20 from the Indictment (Doc. #126), and Motion to Dismiss

the Indictment or to Preclude Reading the Indictment or to Strike Paragraphs 2-33 (including

part of Paragraph 18), 35, and 36 (Doc. #131).

       On September 13, 2007, Chief United States Magistrate Judge James C. England issued

his Report and Recommendation. On October 22, 2007, Defendant's Objections to the Report

and Recommendation were filed.

       Upon careful and independent review of the pending motions and suggestions in support

thereof, Defendant’s objections to the Magistrate's Report and Recommendation, as well as the

applicable law, this Court hereby adopts and incorporates as its own Opinion and Order the

Report and Recommendation of Chief United States Magistrate Judge James C. England.

       Accordingly, it is hereby ORDERED that Defendant's Motion to Dismiss the Indictment

(Doc. #124), Motion to Strike Paragraph 20 from the Indictment (Doc. #126), and Motion to

Dismiss the Indictment or to Preclude Reading the Indictment or to Strike Paragraphs 2-33

(including part of Paragraph 18), 35, and 36 (Doc. #131), are overruled and denied.




       Case 6:06-cr-03114-GAF         Document 180        Filed 10/25/07     Page 1 of 2
                                         s/ Gary A. Fenner
                                         GARY A. FENNER, JUDGE
                                         UNITED STATES DISTRICT COURT

DATED: October 25, 2007




                                     2


     Case 6:06-cr-03114-GAF   Document 180   Filed 10/25/07   Page 2 of 2
